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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01129

  ERIC COOMER, PhD.,

        Plaintiff

  v.

  MICHAEL J. LINDELL, FRANKSPEECH LLC,
  AND MY PILLOW, INC.,

        Defendants


                                   EXHIBIT 36
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          Montgomery). Do you have any comment or clarification?
       7. Our understanding is that you announced that you would reveal the data at a three-day “cyber symposium”
          you were hosting in Sioux Falls, South Dakota, in August 2021. Do you have any comment or clarification?
       8. Our understanding is that you promised that reporters, cybersecurity experts and elected officials — as well as
          anyone tuning in online — that they would finally see the proof that the election had been stolen. Do you have
          any comment or clarification?
       9. Our understanding is that you offered a $5 million reward to anyone who could prove that “this cyber data is
          not valid data from the November 2020 election.” Do you have any comment or clarification?
      10. Our understanding is that you said this 37 terabytes of data would be presented by a group of your advisors —
          the “Red Team” — and vetted at the symposium by other independent cyber security experts. Do you have any
          comment or clarification?
      11. Our understanding is that you insisted on numerous occasions that the event would result in Trump being
          returned to the presidency. Do you have any comment or clarification on this finding?


      12. Our understanding is that on August 8, 2021, you picked up Phil Waldron and Josh Merritt from an airport
          outside of Dallas, Texas, where Allied Security Operations Group has their offices, and flew them to Sioux Falls,
          South Dakota. Do you have any comment or clarification on this account?


      13. Our understanding is that the “Red Team” was a name for a group that consisted of Phil Waldron, Conan Hayes,
                      , Joshua Merritt, and others. Do you have any comment or clarification?
      14. Our understanding is that before and during the cyber symposium the Red Team was communicating with
          Ronald Watkins. Do you have any comment or clarification?


      15. Our understanding is that the Red Team determined that the data you had provided wasn’t what was
          promised. Our understanding is that Waldron wrote in a text message to the rest of the team that the files
          “have NOTHING to do with hammer/scorecard” and that they “are all open source javascript files for web
          development.” It is also our understanding that Watkins wrote, “I have checked them all and they are NOT
          PROOF.”’


      16. Our understanding is that the Red Team tried to inform you that the data wasn’t what you promised, you yelled
          at them that they were wrong. Do you have any comment or clarification?
      17. Our understanding is that the night before the symposium was to start, the Red Team learned that
          Montgomery was claiming to have had a stroke. It is also our understanding that the final proof of election
          fraud, which he was supposed to deliver last minute, was no longer going to arrive. Do you have any comment
          or clarification?
      18. Our understanding is that despite these multiple warnings you continued to press on with the Cyber
          Symposium. Do you have any comment or clarification?
      19. Our understanding is that Waldron got on stage with you and explained that the Red Team had begun to look at
          the data and “we’ve seen plausibility.” It is also our understanding that you, Waldron and other speakers
          explained that a separate group of analysts in back rooms were combing through the 37 terabytes of data that
          would reveal a vast foreign scheme to steal the election.Do you have any comment or clarification?
      20. It is our understanding that these analysts consisted of longtime election security and computer experts, some
          skeptical of you claims and others sympathetic. Do you have any comment or clarification?
      21. Our understanding is that the independent analysts reached an unanimous agreement that none of the data
          contained the proof that you had promised. Do you have any comment or clarification?
      22. Our understanding is that Merritt feared that the hollowness of your data was undermining other efforts to
          prove the election was stolen that he thought were more legitimate. Do you have any comment or



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          clarification?
      23. Our understanding is that Waldron concluded the conference by claiming that a “poison pill” had been inserted
          into the data. Do you have any comment or clarification?
      24. Our understanding is that many symposium attendees acknowledged among themselves that it was obvious
          your data was not legitimate, but they still came away energized. Do you have any comment or clarification?
      25. Our understanding is that the day after the symposium ended you dined with former President Trump at Mar-
          a-Lago along with other activists who believe the election was stolen. Do you have any comment or
          clarification on these findings?
      26. Our understanding is that you continue to promote your belief that the election was stolen on numerous
          outlets, including Steve Bannon’s show. Do you have any comment or clarification on these findings?
      27. Our understanding is that you have said Trump’s election was a miracle that partly resulted from his prayers. Do
          you have any comment or clarification on this account?
      28. Our understanding is that you have spent more than $25 million supporting “election integrity” efforts and
          efforts to transform the American electoral system and efforts to show the Nov. 2020 election was fraudulent.
          Do you have any comment or clarification?
      29. Our understanding is that Dominion Voting Systems filed a defamation lawsuit against you. Do you have any
          comment or clarification?


   I’m available during normal working hours at

   Thank you,

   Doug Bock Clark




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          From: Maarten Schenk
             To: Mike Lindell                    >
            Cc: Alan Duke
        Subject: Dennis Montgomery
           Date: Mon, 16 Aug 2021 12:26:02 -0500
     Importance: Normal


   Hi Mike,

   Happy you finally admitted Dennis Montgomery was one of your sources. We asked you about that four months
   ago, if you remember.

   Note we are still waiting for you to release the pcap evidence. Your excuse on CNN that it can be modified
   makes no sense. Didn't you tell us yourself that it was immutable and frozen in time?

   Just get hashes and signatures out first, that way everybody can verify that the files they are looking at are the
   same ones you released.

   Wasn't that the entire purpose of the symposium?

   Kind regards,
   Maarten

   P.S.: Did you get an updated scrolling column video created yet?

   P.S.II: Did you pay Montgomery? If so, how much?




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